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1                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
2                            EASTERN DIVISION

3    PROTECT OUR PARKS, INC.,                )   Docket No. 18 CV 3424
     et al.,                                 )
4                                            )
              Plaintiffs,                    )
5                                            )   Chicago, Illinois
                   vs.                       )   September 20, 2018
6                                            )   9:45 o'clock a.m.
     CHICAGO PARK DISTRICT and CITY          )
7    OF CHICAGO,                             )
                                             )
8             Defendants.                    )

9
                   TRANSCRIPT OF PROCEEDINGS - Motion
10               BEFORE THE HONORABLE JOHN ROBERT BLAKEY

11
     APPEARANCES:
12   For the Plaintiffs:          ROTH FIORETTI LLC
                                  BY: MR. ROBERT FIORETTI
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     For Chicago Park District:
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1        (The following proceedings were had in open court:)

2              COURTROOM DEPUTY:        18 C 3424, Protect Our Parks

3    versus Chicago Park District.

4              THE COURT:      Good morning, counsel.        Appearances?

5              MR. FIORETTI:      Good morning, your Honor.          Bob

6    Fioretti on behalf of the plaintiffs.

7              MR. ROTH:     Good morning, your Honor.          My name is

8    Mark Roth, R-o-t-h.       I also represent the plaintiffs.

9              MR. WORSECK:      Good morning, your Honor.         Andrew

10   Worseck for the City.

11             MR. RODDY:      Good morning, Judge.        Joe Roddy on

12   behalf of Chicago Park District.

13             THE COURT:      There was a motion -- it's more of a

14   status report than anything else but it was styled a motion

15   to amend or correct the record.          There was a response filed.

16   The Court has reviewed everything.

17             Do the parties want to be heard on that filing?

18             MR. ROTH:     Yes, your Honor --

19             THE COURT:      Go ahead.

20             MR. ROTH:     -- very briefly.

21             So obviously, as we set forth in our motion to

22   correct, we believe that the City and the Park District

23   misrepresented the relationship between the activities that

24   were going on in Jackson Park with respect to cutting down

25   these century-old trees in Jackson Park and relocating a
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1    track and field.      When we came before you -- and Mr. Fioretti

2    was here at the last hearing, I was not here, but I did read

3    the transcript and you specifically asked the City of Chicago

4    whether the two projects were related.

5               And specifically you asked:         Well, is it your

6    position that that's not related to the Obama Center,

7    correct?    And the City's attorney said:          Correct, it's a

8    separate project.

9               So as it turns out, it's not a separate project.

10   They are one in the same.        It's all interrelated.         And you

11   have to put this into the context of what's happening when we

12   filed this motion to lift the stay.           We're getting reports

13   obviously that there's trees are being cut down in Jackson

14   Park in the vicinity of the Obama Center so we scramble and

15   we file our motion to lift the stay because the case had

16   really been stayed while the City was supposed to be enacting

17   a new ordinance to correct what we believe are glaring

18   illegalities of the original ordinances and so there are --

19   they come into court and they say well don't worry about

20   anything because we're not going to do any construction work

21   in Jackson Park while this is going on.            We believed them.

22   We then find out that they're cutting down these trees so we

23   scramble; we file a motion to lift the stay.             The City and

24   the Park District come into court and they say that they're

25   not related.
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1              Afterwards, we had issued FOIA requests and we found

2    out that they are absolutely related and we found a donation

3    agreement from the Obama Foundation which provides that the

4    Obama Foundation is actually paying for the relocation work.

5    We found the Chicago Plan Commission has a resolution that no

6    construction work with respect to the track and field is to

7    take place until the federal review process is complete which

8    we were unaware of because actually the Park District issued

9    a statement through its representative Heather Gleason

10   earlier on that said that the renovation work can proceed

11   because no federal reviews are required so it turns out that

12   after our -- this information comes to light and we're in

13   court, that that's absolutely not true.

14             So we've asked in the motion for a couple things.

15   We had asked that the City not perform anymore work in

16   Jackson Park.     We had asked that until there's some decision

17   in this case that that construction work be stayed, number

18   one.   And, number two, we had asked that discovery would

19   commence.    So in response to our motion, apparently we

20   learned that the City's official position is going to be

21   okay, we're not going to do anything in Jackson Park until at

22   least the end of 2018 and that's -- so that's certainly a

23   step in the right direction.

24             So if you recall kind of the history of this case,

25   we filed the case in May.        The City and the Park District
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1    asked for an extension of time to file their responsive

2    pleading into early July.        We agreed to that.        We said that's

3    fine.   Then what happened is, they apparently really took a

4    deep dive into our complaint and the City's attorney said

5    well we need additional time because now we have to draft new

6    ordinances and -- which was never contemplated before but now

7    we're going to draft new ordinances.           So the City was

8    supposed to have done that and presented that in July.                That

9    didn't happen because we were going to come back here, if you

10   recall -- I think it was August 28th we were supposed to be

11   back here and report on where that ordinance was at so we

12   could set some time tables for answering and discovery.                   The

13   ordinance has still not been presented, apparently.

14             Now what the City is saying is okay, we're going to

15   vote on an ordinance on October 31st so forget about the

16   prior date.    The last time we were in court, you entered an

17   order stating that responsive pleadings are to be filed on or

18   before November -- October 22nd and so now the City is saying

19   okay, well, throw that out the window as well, we want to

20   continue this until November, not for responsive pleadings,

21   but for a status.

22             So in response to that, if that's what they want --

23   what everybody wants is some clarity on what's going on here

24   because, quite honestly, there's a lot of moving parts here.

25   There's a lot of -- I'm trying to be as tactful as I can -- I
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1    guess, misrepresentations that are going on on the other side

2    of the coin here, we believe, so we want clarity too.

3              So what we're asking for is we're asking for some

4    written discovery to take place now so that when we come back

5    in November for a status hearing if that's the Court's

6    ruling, that we have clarity, that we understand the

7    agreements that are outstanding, the side agreements, if any,

8    the approvals that have been generated or necessary so that

9    we're on the same playing field that the City of Chicago and

10   the Park District are on and -- and obviously discovery is a

11   two-way street.

12             But we're asking that if the Court is going to

13   continue thing out again -- and again, this case was filed in

14   May and we're not even looking for -- to a responsive

15   pleading now until probably sometime, quite honestly, at the

16   end of December or maybe early January.            So in the interim

17   and we have some time, we're asking for written discovery and

18   that's consistent with my initial time that I appeared before

19   you on status on July 5th and you asked:            Do you anticipate

20   taking discovery?      And I said well, we anticipate -- we're

21   not going to foreclose discovery.          We anticipate some limited

22   discovery.    And I think to get us on the same playing field

23   and the same level of knowledge as the City and the Park

24   District, we're asking that we be able to take some limited

25   discovery right now.
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1              THE COURT:      Do you want to respond, counsel?           I know

2    you do.   Go ahead.

3              MR. WORSECK:      Yes.    Thank you, Judge.       Judge, this

4    is the second time in as many months that we've been in front

5    of you on what is a side-show.          They've -- the plaintiffs

6    have filed two serial motions about the track and field that

7    is not challenged in the complaint and, you know, not only is

8    that a problem with their fixation on the track and field but

9    it's now morphed into this thing where they are accusing the

10   defendants of making misrepresentations, of concealing facts,

11   of making false statements.

12             As we pointed out in our filing last night, all of

13   that is completely frivolous.         The plaintiffs themselves in

14   both of the motions they filed on this issue have made

15   arguments and have attached documents showing that the

16   material facts that they claim they were concealed, the fact

17   that there was an agreement between the Foundation and the

18   Park District for the track and field, the fact that the new

19   track and field was effectively a relocation of an existing

20   track and field on what will be the site of the OPC and the

21   fact that the Foundation is paying $3.5 million in support of

22   the new track and field, all of those have been public for

23   months going back at least until February of this year when

24   the Park District itself in a press release that it issued on

25   the very day the agreement was signed with the Foundation
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1    talked about all of this.

2              So the idea that we have been hiding the ball when

3    plaintiffs have now filed two motions putting the ball right

4    in front of the Court is frankly absurd.            It's time to move

5    beyond this side-show and these distractions; and as we set

6    out in our filing -- and it seems like counsel here is in

7    agreement -- that it would make sense in light of the fact

8    that we now have today in the City Council the ordinance that

9    would govern the Foundation's use of this site for the OPC.

10   That is being introduced.        We expect that that would be taken

11   up by the full Council at their next meeting which will be

12   next month, October 31st.        And upon what we anticipate to be

13   the final vote on that ordinance, the matters relevant to

14   this Court's adjudication of the actual merits of the

15   challenge to what really is at issue here -- not the track

16   and field, but the OPC -- will be solidified.              We will have

17   the ordinance.     We will have the use agreement.           We have the

18   prior ordinances on the OPC.         We think at that time we will

19   have everything and the Court will have everything that would

20   be needed to adjudicate whether the OPC is a valid use of the

21   Jackson Park land and we think that it makes sense at that

22   point for the plaintiffs to decide whether they want to amend

23   their complaint to account for this.

24             The prior complaint was premised on the idea that

25   there was going to be a lease agreement.            There's not going
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1    to be a lease agreement.        There's going to be a use

2    agreement, a very different type of agreement.              We think that

3    that's a material development that the plaintiffs, if they

4    wish, should decide whether to take into account before we

5    start briefing this issue on the merits and before we start

6    expending the resources of the parties and the Court on this

7    issue.   And this is not something that we have just suddenly

8    come up with, this new ordinance.          In the past few months the

9    very first time we were before you, we said this case is not

10   ready to be decided on the merits because the ordinance does

11   not yet exist and that's a very important development that

12   needs to take place first.

13              We've been up front with the Court about that from

14   day one.     We are now at that point.        We will be -- we

15   anticipate being finished with that process by the end of

16   October and we think at that point it makes sense to come in

17   and set an efficient and prompt schedule for this Court to

18   adjudicate the merits of the case so that everyone can move

19   forward with the OPC.

20              THE COURT:     Counsel, what's the relationship between

21   the track and field and the OPC?

22              MR. WORSECK:     The new track and field is something

23   that is being built as a result of the anticipated OPC

24   displacing an existing track and field that's currently on

25   that site.     The track and field that, independently of the
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1    OPC, was ending the -- was nearing the end of its useful

2    life, it was projected to kind of be ready for replacement I

3    think next year.      And so given that the OPC would be

4    displacing that track and field and there was a need to have

5    a track and field according to the Park District's judgment

6    in Jackson Park, it made sense to build a new track and field

7    as part of this.

8               THE COURT:     I specifically asked you:         Well, is it

9    your position that that's not related to the Obama Center,

10   correct?     And you said:     Correct, that's a separate project.

11              And I understand the qualifications that you've made

12   and I read the transcript in its entirety.             I'm just going to

13   say that I found that answer very disappointing and I'm going

14   to want and expect better from counsel going forward.                But

15   I'm also going to say that both sides have been a little fast

16   and loose with the record.         I lifted the stay in August.

17   There's no reason under this Earth why you can't propound

18   discovery.     There's no reason for you to ask me to do that

19   because I already lifted discovery.           And when I deferred MIDP

20   disclosures which wouldn't already -- which wouldn't be

21   triggered until a responsive pleading anyway, I did it at the

22   agreement of the parties; not because they told me that the

23   thing was related or not.         I asked the parties do you want to

24   defer MIDP discovery.        I was happy to have that done on time

25   which again would have been triggered after the responsive
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1    pleading.

2               If you want an injunction, I also discussed that on

3    the last time we were here and I said the parties need to

4    meet and confer.      And if you want to file a motion for an

5    injunction, which is not in front of me because there's a

6    rule for that and you're perfectly aware of what the rule is

7    and what the showing needs to be so this is what we're going

8    to do, all dates and deadlines to stand.

9               If you want to propound discovery, go ahead and

10   propound discovery.       If you want to move for an injunction,

11   then do it the right way after you meet and confer which is

12   consistent with the local rules.           An answer is not an

13   adjudication on the merits.         I'm going to have my deadline

14   set and the City Council, as I said on the last court date,

15   it can do whatever it wants to do.           And if that means you

16   have to file an amended answer at some point, fine, we'll

17   take that when we -- we'll cross that bridge whenever we get

18   to it but we're going to get an answer on file because that's

19   the predicate to us doing a dispositive motion schedule.                   And

20   if you need discovery in order to respond or file your own

21   dispositive motion, let's go ahead and do that, okay.                You

22   know what the answer is going to look like.              And then when we

23   show up on October 24th, if there's any issues, if you need

24   to amend your answer, if you want to set a dispositive motion

25   schedule, if you want to set even an expert discovery
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1    schedule, whatever, but what I'm going to do on the next

2    court date is once I get the pleadings at issue, I'm going to

3    set a case management conference and we're going to have

4    everything set on a very short and efficient and fair

5    schedule, including a trial date, if necessary.

6               Any questions?

7               MR. FIORETTI:      Just one, your Honor.        I know you

8    said we're in discovery.         We probably would like to issue two

9    subpoenas.     Would that be permissible?         At a minimum --

10              THE COURT:     I lifted the stay.        You have the entire

11   Rules of Civil Procedure at your displeasure.              Go ahead and

12   fire away any kind of discovery you want.

13              MR. FIORETTI:      Thank you.

14              THE COURT:     Anything else?

15              MR. WORSECK:      Your Honor, two points:        First of all,

16   your point is taken with respect to the prior colloquy

17   regarding the connection between the track and field and the

18   OPC.   With respect, we believe that given the context of the

19   hearing which was not about whether they were related in some

20   sense but whether in having started work on the track and

21   field we had gone back on a promise not to start work on the

22   OPC, we think that it was very clear that those are two

23   separate things for lots of different reasons which we've

24   already put before the Court and I don't want to rehash those

25   now but the position we took on your question at the time, we
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1    believe, was in good faith and supported by the facts.

2               THE COURT:     Opposing counsel is calling it a

3    misrepresentation.       I'm not doing that.        I'm just finding it

4    disappointing that there wasn't more clarity and I'll take

5    your representation at face value, counsel, so don't worry

6    about that.

7               MR. WORSECK:      Thank you, your Honor.

8               THE COURT:     All right.     See you on the next court

9    date.

10              MR. WORSECK:      Judge, one other --

11              MR. ROTH:     Thank you, your Honor.

12              MR. WORSECK:      Just one point of clarification --

13              THE COURT:     Yes?

14              MR. WORSECK:      -- regarding MIDP discovery, it sounds

15   like because we have an answer date of the 22nd, that MIDP

16   would not start at least until some point after that.

17              THE COURT:     Currently, there's an oral agreed motion

18   to defer initial MIDP discovery.           Do you want to revisit

19   that?

20              MR. WORSECK:      No.   We believe that MIDP discovery is

21   not appropriate for reasons we've been through before.

22              THE COURT:     All right.     Do you want to undo that?

23   It's up to you.

24              MR. ROTH:     Your Honor, we --

25              THE COURT:     Pilot discovery wouldn't be due until
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1    after the answer anyway and you have the ability to do

2    attorney-driven discovery now so do you care about that or do

3    you want to revisit it?

4               MR. ROTH:     Well, we're fine with -- we want to issue

5    written discovery.       We're going to do that.         If we can defer

6    the MIDP discovery, that is what it is.             That's fine.

7               THE COURT:     Because the pilot discovery -- and you

8    should know this, it's a door that swings both ways, so

9    you're going to have to comply with that but all of that

10   based on the pilot itself is triggered off through the answer

11   date so none of that will be due until after we meet again on

12   the 24th of October.

13              MR. ROTH:     Yes, sir.     Thank you.

14              MR. WORSECK:      One other point, your Honor, just so

15   everyone is clear here.

16              THE COURT:     No.   Take your time.

17              MR. WORSECK:      We understand your point about

18   non-MIDP discovery.       For the reasons we've talked about

19   already, we think that it is premature to engage in any

20   discovery, whatever the type, because --

21              THE COURT:     I understand those arguments.          I

22   considered them and I lifted the stay on our last court date

23   so discovery is open and you can engage in discovery too if

24   you will.

25              MR. WORSECK:      Right.    And we would reserve all
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1    appropriate objections to that discovery.

2               THE COURT:     Well, any discovery comes, that's how it

3    goes.

4               MR. WORSECK:      Right.

5               THE COURT:     You could move for a protective order,

6    you.    Could say it's not proportional.          It's like any other

7    case.   Thank you, counsel.

8               MR. FIORETTI:      Thank you, Judge.

9               MR. ROTH:     Thank you.

10              MR. WORSECK:      Thank you.

11        (Which concluded the proceedings in the above-entitled

12   matter.)

13                            C E R T I F I C A T E

14              I hereby certify that the foregoing is a transcript

15   of proceedings before the Honorable John Robert Blakey on

16   September 20, 2018.

17

18   /s/Laura LaCien
     ________________________                      September 21, 2018
19   Laura LaCien                                        Date
     Official Court Reporter
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